Case 1:07-cr-00006-IMK-JSK Document 396 Filed 01/31/13 Page 1 of 6 PageID #: 816
Case 1:07-cr-00006-IMK-JSK Document 396 Filed 01/31/13 Page 2 of 6 PageID #: 817
Case 1:07-cr-00006-IMK-JSK Document 396 Filed 01/31/13 Page 3 of 6 PageID #: 818
Case 1:07-cr-00006-IMK-JSK Document 396 Filed 01/31/13 Page 4 of 6 PageID #: 819
Case 1:07-cr-00006-IMK-JSK Document 396 Filed 01/31/13 Page 5 of 6 PageID #: 820
Case 1:07-cr-00006-IMK-JSK Document 396 Filed 01/31/13 Page 6 of 6 PageID #: 821
